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 LaMONICA HERBST & MANISCALCO, LLP                          Hearing Date: Thursday, November 1, 2018 at 10:00 a.m.
 3305 Jerusalem Avenue, Suite 201                           Objection Deadline: October 25, 2018 by 5:00 p.m.
 Wantagh, New York 11793
 Jacqulyn S. Loftin, Esq.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------x
 In re:                                                              Chapter 7

 TRANSCARE CORPORATION, et al.
                                                                     Case No.: 16-10407 (SMB)
                                              Debtors.               (Jointly Administered)
 -------------------------------------------------------x
 SALVATORE LAMONICA, as Chapter 7
 Trustee for the Estates of TransCare                                Adv. Proc. No. 18-1021
 Corporation, et al.,

                  Plaintiff,

                  v.

 LYNN TILTON, PATRIARCH
 PARTNERS AGENCY SERVICES, LLC,
 PATRIARCH PARTNERS, LLC,
 PATRIARCH PARTNERS MANAGEMENT
 GROUP, LLC, ARK II CLO 2001-1,
 LIMITED, ARK INVESTMENT PARTNERS
 II, L.P., LD INVESTMENTS, LLC,
 PATRIARCH PARTNERS II, LLC,
 PATRIARCH PARTNERS III, LLC,
 PATRIARCH PARTNERS VIII, LLC,
 PATRIARCH PARTNERS XIV, LLC,
 PATRIARCH PARTNERS XV, LLC,
 TRANSCENDENCE TRANSIT, INC., and
 TRANSCENDENCE TRANSIT II, INC.

                   Defendants.
 -------------------------------------------------------x

       NOTICE OF HEARING ON THE MOTION OF CHAPTER 7 TRUSTEE
 SEEKING AUTHORITY TO PAY COSTS RELATED TO THE PENDING LITIGATION

         PLEASE TAKE NOTICE, that on Thursday, November 1, 2018 at 10:00 a.m., or as

 soon thereafter as counsel may be heard, a hearing shall be held before the Honorable Stuart M.
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 Bernstein, United States Bankruptcy Judge, Southern District of New York, One Bowling Green,

 New York, New York 10004, on the motion (the “Motion”) of Salvatore LaMonica, the Chapter

 7 Trustee (the “Trustee”) of the jointly administered estates of TransCare Corporation et al.

 (collectively, the “Debtors”), by his attorneys, LaMonica Herbst & Maniscalco, LLP, seeking entry

 of an Order, pursuant to 11 U.S.C. § 363(b)(1) (the “Bankruptcy Code”), authorizing the Trustee

 to pay the costs and fees related to the above-caption litigation as set forth in the motion, and

 granting such other, further, and different relief as this Court deems just and proper.

        PLEASE TAKE FURTHER NOTICE, that objections to the relief requested in the

 Motion, if any, must be in writing, conform with Bankruptcy Code, the Federal Rules of

 Bankruptcy Procedure and the Local Rules, and be filed with the Court, with a courtesy copy to

 the Chambers of the Honorable Stuart M. Bernstein, United States Bankruptcy Judge, and served

 upon, so as to be received by, LaMonica Herbst & Maniscalco, LLP, the attorneys for the Trustee,

 Attn: Jacqulyn S. Loftin, Esq., no later than Thursday, October 25, 2018 at 5:00 p.m. as follows:

 (a) through the Court’s electronic filing system, which may be accessed through the internet at the

 Court's website at www.nysb.uscourts.gov, in portable document format (PDF) using Adobe

 Exchange Software for conversion; or (b) if a party is unavailable to file electronically, such party

 shall submit the objection in PDF format on a compact disc in an envelope with the case name,

 case number, type and title of document, document number to which the objection refers and the

 file name on the outside of the envelope.
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        PLEASE TAKE FURTHER NOTICE, that the hearing on the motion may be adjourned

 from time to time without any other announcement other than that set forth in open Court.

 Dated: October 18, 2018
        Wantagh, New York             LaMONICA HERBST & MANISCALCO, LLP
                                      Counsel to Salvatore LaMonica, as Trustee


                              By:     s/ Jacqulyn S. Loftin
                                      Jacqulyn S. Loftin, Esq.
                                      Partner
                                      3305 Jerusalem Avenue
                                      Wantagh, New York 11793
                                      Telephone: 516.826.6500
